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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEV/ YORK


  JAMES WICOX, NATALIA LEE, and JOHN
  BROTWN,
                                                                STIPULATION A¡II)
                                                                ORDER OF DISMISSAL
                                              Plaintiffs,
                                                                12-CY -2e7 8 (JBW) (RER)
                           -against-

  CITY OF NEW YORK, JOSEPH RYAN,
  Individually, CORNELIUS BUCKLEY, Individually,
  ANDREW FAGO, Individually, ANDREW
  KINSELLA, Individually, RAYMOND WITTICK,
  Individually, and JOHN and JANE DOE 1 through
  10, Individually (the narnes John and Jane Doe being
  fictitious, as the true names are presently unknown),,

                                            Defendants,
                                            ---------------.x


                  \ilHEREAS, the parties have    reached a settlement agreement and now desire to

  resolve the remaining issues raised in this litigation, without fi¡rther proceedings and without

   admitting any fault or liability;

                   NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED,                          bY


   and between the undersigned, that the above-referenced action         is   hereby dismissed with

   prejudice.
Case 1:12-cv-02978-JBW-RER Document 15 Filed 02/04/13 Page 2 of 2 PageID #: 81




  L,eventhal       & Klein                                 MICI-IAEL A. CARDOZO
  At t o r ney s .fo r P I ain t ilf.s'                    Corporalion Counsel of the
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                                                           New York, New         l 0007



  By:                                                By:
                    H,    em                               Iì.yan G
         A   tto   rncy .for   P   I   aintifls                               0n Counsel



                                                           SO ORDERED




                                                           HON. JACK B. WE,INSTEIN
  Datedr New York, New York                                UNI'I'ED S'I",A, ES DISTRICT JUDGE
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